               Case 23-12031-amc       Doc 66     Filed 04/09/24 Entered 04/09/24 14:00:39           Desc Main
                                                  Document     Page 1 of 1


                                                 UNITED STATES BANKRUPTCY COURT FOR
                                                 THE EASTERN DISTRICT OF PENNSYLVANIA

                        In re: Samuel & Susan McCutchin      : Chapter 13

                                       Debtors                : Bky No. 23-12031 amc

                                    AMENDED NOTICE OF HEARING TO CONSIDER OBJECTION TO
                                      PROOF OF AMENDED CLAIM OF WELLS FARGO CLAIM #5

                        To: Wells Fargo

                              The debtor has filed an objection to the proof of claim you filed in this
                        bankruptcy case.

                              Your claim may be reduced, modified, or eliminated. You should read these
                        papers carefully and discuss them with your attorney, if you have one.

                               If you do not want the court to eliminate or change your claim, you or your lawyer must
                        attend the hearing on the objection, scheduled to be held before the Honorable Ashely M
                        Chan on 04/24/24 at 11:00 a.m. by telephone hearing. To participate dial 877-873-8017 and
                        use access code 3027681. Unless the court orders otherwise, the hearing on this contested
                        matter will be an evidentiary hearing. If you or your attorney do not attend the hearing on the
                        objection by phone, the court may decide that you do not oppose the objection to your claim.


                        Date: April 9, 2024


                                                                     s/Lawrence S. Rubin, Esquire
                                                                     Lawrence S. Rubin, Esquire
                                                                     Attorney for Debtor
                                                                     Lrubin@pennlawyer.com
                                                                     337 West State Street
                                                                     Media, PA 19063
                                                                     Phone No: (610) 565-6660




Lawrence S. Rubin
Attorney
337 W. State Street
Media, PA 19063-2615
610.565.6660
fax 610.565.1912
LRubin@Pennlawyer.com
